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                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                    *             CIVIL ACTION
CONSOLIDATION LITIGATION                        *
                                                *             NO. 05-4182
PERTAINS TO:                                    *             & Consol. Cases
(PALMER: Case No. 06-7540)                      *
                                                *             SECTION “K”
                                                *             MAG. (2)
*************************************************


                      MOTION FOR ENTRY OF FINAL JUDGMENT



       NOW INTO COURT, through undersigned counsel comes Aparicio, Walker & Seeling

Inc., defendant, who moves this Court pursuant to F.R.C.P. Rules 59 and 60, to enter final

judgment in accordance with the attached Judgment/ORDER, pursuant to 28 U.S.C. 1291, or

alternatively, F.R.C.P. Rule 54.

       WHEREFORE, Aparicio, Walker & Seeling Inc. prays for entry of final judgment from

this Court’s ruling entered January 12, 2007.
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                                                                        Respectfully submitted:
                 CERTIFICATE OF SERVICE
                                                                        UNGARINO & ECKERT, LLC
I hereby certify that on February 8, 2007, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system
which will send a notice of electronic filing to all of the
following: David Edmund Kavanagh, Charles Milton Ponder, III,
Glenn B. Adams, and Michael W. Collins.                                 /s/ William H. Eckert
                                                                        WILLIAM H. ECKERT (#18591)
            /s/ William H. Eckert
                                                                        Suite 1280 Lakeway Two
            ____________________________________                        3850 North Causeway Boulevard
                        WILLIAM H. ECKERT
                                                                        Metairie, Louisiana 70002
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